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                   EXHIBIT G
        Case 2:23-cv-11634-NGE-APP ECF No. 14-8, PageID.99 Filed 08/01/23 Page 2 of 2




From:                 Deborah Gordon <dgordon@deborahgordonlaw.com>
Sent:                 Monday, July 31, 2023 2:31 PM
To:                   Clinton Mikel; Elizabeth Marzotto Taylor; Monique Selby; Adrienne Dresevic; Jonathan Messina
Cc:                   Molly Savage; Sarah Gordon Thomas
Subject:              RE: Pensler et al /Request for extension


Clinton, I apologize for missing the call. I was in a meeting and lost track of the time. I am in the office.
Please give us a call.

Deb

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From: Clinton Mikel <CMikel@thehlp.com>
Sent: Monday, July 31, 2023 2:23 PM
To: Elizabeth Marzotto Taylor <emt@deborahgordonlaw.com>; Monique Selby <mselby@thehlp.com>; Adrienne
Dresevic <ADresevic@thehlp.com>; Jonathan Messina <jmessina@thehlp.com>
Cc: Deborah Gordon <dgordon@deborahgordonlaw.com>; Molly Savage <msavage@deborahgordonlaw.com>; Sarah
Gordon Thomas <sthomas@deborahgordonlaw.com>
Subject: RE: Pensler et al /Request for extension

Hi, Elizabeth,

We waited 20 minutes on the call but you didn’t join, despite having accepted the invitation. I hope everything is OK.

Happy to re-schedule the call if you like, BUT, given what we calculate deadlines to be we need to file
Motion for Extension ASAP, so re-schedule would need to be ASAP.

To finish off the meet-and-confer via email since you missed our call. We gave you below very detailed
reasons why we need an extension. Additionally, I will add that: (i) our client has been in Spain and are just getting back
this week; (ii) my father-in-law is going into hospice shortly, and I anticipate travel between here/MO will be added into
the mix; (iii) my mother is having surgery to remove thyroid cancer at the end of August; and (iv) client is still waiting to
hear if insurance panel counsel may be appointed/take over, and that will add time. Again, I have never been in a position
of begging opposing counsel for a standard extension, and am perplexed at your opposition.

I asked below for you to detail any reason you would be objecting to an extension – your only response was that it
would prejudice your client.

First, are there any other reasons you would object?

Second, please detail how an extension would prejudice your client.

                                                               1
